             Case CO/1:20-cv-01689 Document 5-1 Filed 07/02/20 Page 1 of 1




                           BEFORE THE UNITED STATES
                  JUDICIAL PANEL ON MULTIDISTRICT LITIGATION



       IN RE: COVID-19 AIRFARE REFUND                  MDL No. 2957
       LITIGATION



                                  Attached List of Actions
 Represented Party         Case Name                   Case Number              District

 Defendant Frontier     Young v. Frontier         1:20-cv-01153-PAB-KLM District of Colorado
   Airlines, Inc.         Airlines, Inc.
 Defendant Frontier     Sweet v. Frontier         1:20-cv-01340-RM-NRN    District of Colorado
   Airlines, Inc.         Airlines, Inc.
 Defendant Frontier    Obertman v. Frontier         1:20-cv-01689-STV     District of Colorado
   Airlines, Inc.         Airlines, Inc.
 Defendant Frontier    Johnson v. Frontier          1:20-cv-01751-MEH     District of Colorado
   Airlines, Inc.         Airlines, Inc.




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